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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 UNITED THERAPEUTICS                            )
 CORPORATION,                                   )
                                                )
                  Plaintiff,                    )
                                                )
    v.                                          ) C.A. No. 23-975-RGA
                                                )
 LIQUIDIA TECHNOLOGIES, INC.,                   )
                                                )
                  Defendant.                    )


               STIPULATION AND PROPOSED ORDER TO EXTEND TIME

         WHEREAS, final FDA approval of Liquidia Technologies, Inc.’s (“Liquidia”) New Drug

Application No. 213005 for its Yutrepia product is enjoined by the Court’s Final Judgment in

C.A. No. 20-755-RGA until expiration of United Therapeutics Corporation’s (“UTC”) U.S.

Patent No. 10,716,793 (see C.A. No. 20-755, D.I. 436);

         WHEREAS, in C.A. No. 20-755 Liquidia has filed a Motion pursuant to Federal Rule of

Civil Procedure 60(b) (“Rule 60(b) Motion”) for relief from the Final Judgment, which motion is

currently pending before the Court (C.A. No. 20-755, D.I. 461);

         WHEREAS, UTC has alleged in this action that Liquidia’s Yutrepia product for the

treatment of pulmonary hypertension associated with interstitial lung disease (“PH-ILD”)

infringes UTC’s U.S. Patent No. 11,826,327 (D.I. 1);

         WHEREAS, if the Court grants Liquidia’s Rule 60(b) Motion, Liquidia would be

permitted to, and intends to, launch its proposed Yutrepia product for treatment of pulmonary

arterial hypertension (“PAH”) immediately and for treatment of PH-ILD upon the expiration of

UTC’s regulatory exclusivity on March 31, 2024;
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       WHEREAS, UTC has filed a Motion for Preliminary Injunction in this action to enjoin

Liquidia’s launch of Yutrepia for treatment of PH-ILD upon the expiration of UTC’s regulatory

exclusivity on March 31, 2024 (D.I. 25);

       WHEREAS, on February 21, 2024, UTC filed an action against the Food and Drug

Administration (“FDA”) in the United States District Court for the District of Columbia (United

Therapeutics Corp. v. Food and Drug Administration, No. 24-cv-484-JDB) (“UTC-FDA

Action”) seeking to prevent the FDA from granting final approval to Liquidia’s NDA for

Yutrepia for the PH-ILD indication;

       WHEREAS, on March 4, 2024, in the UTC-FDA Action, UTC filed a motion for a

temporary restraining order and preliminary injunction that, if granted, would enjoin the FDA

from granting final FDA approval to Liquidia’s NDA for Yutrepia and thus result in enjoining

Liquidia from launching the Yutrepia product for the treatment of PH-ILD, resulting in

effectively the same relief UTC seeks here;

       WHEREAS, UTC intends to immediately move for a Temporary Restraining Order to

prevent the launch of Yutrepia for treatment of PH-ILD in the event the Court grants Liquidia’s

Rule 60(b) Motion; and

       WHEREAS, the parties have conferred on a briefing schedule for UTC’s pending Motion

for Preliminary Injunction;

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that the time for Liquidia to respond to UTC’s Motion for Preliminary Injunction (D.I.

25) is extended through and including April 5, 2024 and the time for Plaintiff to file a reply brief

is extended through and including April 19, 2024. The foregoing schedule shall not bar or limit




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UTC from moving for a Temporary Restraining Order should the Court grant Liquidia’s Rule

60(b) Motion.




 /s/ Michael J. Flynn                            /s/ Emily S. DiBenedetto
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 Dated: March 8, 2024


       SO ORDERED this ___________ day of _____________ 2024.


                                          _________________________________
                                            United States District Court Judge




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